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                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on __________________,
                                         October 7, 2024    I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to
the following:


Miguel Angel Sosa Avila
253 Beauregard Heights
Hampton, VA 23669

And via electronic mail to:

Christian D. DeGuzman
DeGuzman Law, PLLC
JANAF Office Building
5900 E. Virginia Beach Blvd.
Suite 507
Norfolk, VA 23502

Kelly M. Barnhart
Chapter 12/13 Trustee
341 Dial: 866-619-3642 Code: 3054410
7021 Harbour View Blvd., Suite 101
Suffolk, VA 23435

Gerard R. Vetter
Office of the U.S. Trustee, Region 4 -NN
200 Granby Street, Room 625
Norfolk, VA 23510

                                                   By: /s/ Savanna Pacino




2IILFLDO )RUP 6                 Notice of Mortgage Payment Change                      SDJH 
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